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       Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
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   7
                       IN THE UNITED STATES DISTRICT COURT
   8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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        ROTHSCHILD BROADCAST
        DISTRIBUTION SYSTEMS, LLC,
  11
                           Plaintiff,                 CASE NO. 2:21-cv-06239
  12
        v.                                            JURY TRIAL DEMANDED
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  14    MOBI TECHNOLOGIES, INC.,

  15                       Defendant.
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  17                                       COMPLAINT
  18         Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or
  19   “Rothschild Broadcast Distribution Systems”) files this complaint against MOBI
  20   Technologies, Inc. (“MOBI”) for infringement of U.S. Patent No. 8,856,221
  21   (hereinafter the “`221 Patent”) and alleges as follows:
  22                                         PARTIES
  23         1.     Plaintiff is a Texas limited liability company with an address at 1 East
  24   Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
  25         2.     On information and belief, Defendant is a California corporation, with a
  26   place of business at 725 West Washington Blvd., Los Angeles, CA 90015. On
  27   information and belief, Defendant may be served through its agent, David E. Naghi, at
  28   the same address.
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                             COMPLAINT AGAINST MOBI TECHNOLOGIES, INC.
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   1                                  JURISDICTION AND VENUE
   2         3.       This action arises under the patent laws of the United States, 35 U.S.C. §
   3   271 et seq. Plaintiff is seeking damages, as well as attorney fees and costs.
   4         4.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal
   5   Question) and 1338(a) (Patents).
   6         5.       On information and belief, this Court has personal jurisdiction over
   7   Defendant because Defendant has committed, and continues to commit, acts of
   8   infringement in this District, has conducted business in this District, and/or has engaged
   9   in continuous and systematic activities in this District.
  10         6.       Upon information and belief, Defendant’s instrumentalities that are
  11   alleged herein to infringe were and continue to be used, imported, offered for sale,
  12   and/or sold in the District.
  13         7.       Venue is proper in this District under 28 U.S.C. §1400(b) because
  14   Defendant is deemed to be a resident in this District. Alternatively, acts of infringement
  15   are occurring in this District and Defendant has a regular and established place of
  16   business in this District.
  17                                       BACKGROUND
  18         8.       On October 7, 2014, the United States Patent and Trademark Office
  19   (“USPTO”) duly and legally issued the `221 Patent, entitled “System and Method for
  20   Storing Broadcast Content in a Cloud-Based Computing Environment” after the
  21   USPTO completed a full and fair examination. The ‘221 Patent is attached as Exhibit
  22   A.
  23         9.       Rothschild Broadcast Distribution Systems is currently the owner of the
  24   `221 Patent.
  25         10.      Rothschild Broadcast Distribution Systems possesses all rights of
  26   recovery under the `221 Patent, including the exclusive right to recover for past, present
  27   and future infringement.
  28         11.      The `221 Patent contains thirteen claims including two independent claims
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                               COMPLAINT AGAINST MOBI TECHNOLOGIES, INC.
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   1   (claims 1 and 7) and eleven dependent claims.
   2                                        COUNT ONE
   3                   (Infringement of United States Patent No. 8,856,221)
   4         12.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the
   5   same as if set forth herein.
   6         13.    This cause of action arises under the patent laws of the United States and,
   7   in particular under 35 U.S.C. §§ 271, et seq.
   8         14.    Defendant has knowledge of its infringement of the `221 Patent, at least
   9   as of the service of the present complaint.
  10         15.    The ‘221 Patent teaches a method and apparatus for media content storage
  11   and delivery. ‘221 Patent, Abstract. Among other things, the claimed system includes
  12   a server, which has a receiver in communication with a processor. Id. The receiver
  13   receives a request message. Id. The request message includes media data indicating
  14   requested media content and a consumer device identifier corresponding to a consumer
  15   device. Id. The processor determines whether the consumer device identifier
  16   corresponds to a registered consumer device. Id. If the processor determines that the
  17   consumer device identifier corresponds to the registered consumer device, then the
  18   processor determines whether the request message is one of a storage request message
  19   and a content request message. Id. If the request message is the storage request message,
  20   then the processor is further configured to determine whether the requested media
  21   content is available for storage. Id. If the request message is the content request
  22   message, then the processor initiates delivery of the requested media content to the
  23   consumer device. Id.
  24         16.    The present invention solves problems that existed with then-existing
  25   media delivery systems. One problem with prior delivery systems is that the customer
  26   was charged according to the expenses of the provider rather than the usage of the
  27   customer. ‘221 Patent, 1:31-57. Customers were not charged based on the amount of
  28   programming delivered or the amount or duration of the customer’s storage of media.
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                              COMPLAINT AGAINST MOBI TECHNOLOGIES, INC.
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   1   Id. Another such problem, more generally, is that customers were not billed and
   2   services were not provided, in a way that was tailored to the customer’s needs and
   3   usage. Id., 2:3-13.
   4         17.    A number of aspects of the invention(s) embodied in the ‘221 Patent
   5   overcome the problems with the prior art. For example, the inventive system includes
   6   a processor in communication with a receiver. Id., 2:23-34. The processor determines
   7   media content characteristics that correspond to the media content to be stored. Id. The
   8   processor determines a length of time to store the media content based on the media
   9   data and determines a cost amount based at least in part on the determined media
  10   content characteristics and length of time to store the media content. Id. As another
  11   example, the system makes a determination that media content is available for
  12   download. Id., 2:64-3:2. A determination is made that content is not stored. Download
  13   of the media content is initiated. Id. The media content is received and the received
  14   media content is stored. Id.
  15         18.    The ‘221 Patent is directed to computerized technologies to provide users
  16   with tailored media delivery systems and tailored billing for such systems. Among other
  17   things, the ‘221 Patent claims include sending and receiving of request messages
  18   indicating requested media content and including a device identifier corresponding to
  19   a consumer device. A determination is made whether the identifier corresponds to the
  20   device. A determination is also made as to whether the request is for delivery or
  21   storage. The media data in the request includes time data that indicates a length of time
  22   for storage. A processor is configured to determine whether requested media exists and
  23   whether there are any restrictions associated with delivery or storage of the requested
  24   media.
  25         19.    The system(s) and methods of the ‘221 Patent include software and
  26   hardware that do not operate in a conventional manner. For example, the software is
  27   tailored to provide functionality to perform recited steps and the processor is configured
  28   (and/or programmed) to provide functionality recited throughout the claims of the ‘221
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   1   Patent.
   2         20.    The ‘221 Patent solves problems with the art that are rooted in computer
   3   technology and that are associated with electronic transmission, loading, and storage of
   4   location information, as well as automatic provisioning of route guidance. The ‘221
   5   Patent claims do not merely recite the performance of some business practice known
   6   from the pre-Internet world along with the requirement to perform it on the Internet.
   7         21.    The improvements of the ‘221 Patent and the features recited in the claims
   8   in the ‘221 Patent provide improvements to conventional hardware and software
   9   systems and methods. The improvements render the claimed invention of the ‘221
  10   Patent non-generic in view of conventional components.
  11         22.    The improvements of the ‘221 Patent and the features recitations in the
  12   claims of the ’221 Patent are not those that would be well-understood, routine or
  13   conventional to one of ordinary skill in the art at the time of the invention.
  14         23.    Accordingly, Defendant has infringed, and continues to infringe, the `221
  15   Patent in violation of 35 U.S.C. § 271. Upon information and belief, Defendant has
  16   infringed and continues to infringe one or more claims, including at least Claim 7, of
  17   the ‘221 Patent by making, using, importing, selling, and/or offering for media content
  18   storage and delivery systems and services covered by one or more claims of the ‘221
  19   Patent.
  20         24.    Defendant sells, offers to sell, and/or uses media content storage and
  21   delivery systems and services, including, without limitation, the MobiCam security
  22   camera platform, any associated hardware, software and apps, as well as any similar
  23   products (“Product”), which infringe at least Claim 7 of the ‘221 Patent.
  24         25.    The Product practices a method of storing (e.g., cloud storage) media
  25   content (e.g., recording) and delivering requested media content (streaming video,
  26   recorded videos, etc.) to a consumer device (e.g., mobile device with app or software).
  27   Certain aspects of these elements are illustrated in the screenshots below and/or in those
  28   provided in connection with other allegations herein.
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   1         26.    The Product necessarily includes a receiver configured to receive a request
   2   message including data indicating requested media content (e.g., the Product must have
   3   infrastructure to receive a request to store recorded media content or to stream recorded
   4   media content on a smartphone; additionally, the request message must contain data
   5   that identifies the content to be stored or streamed) and a consumer device identifier
   6   corresponding to a consumer device (e.g., the user credentials are used to access the
   7   contents of the Product). Certain aspects of these elements are illustrated in the
   8   screenshots below and/or in those provided in connection with other allegations herein.
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  10         27.    The Product necessarily determines whether the consumer device
  11   identifier corresponds to the registered consumer device (e.g., a user must be a
  12   registered user to access the Product’s services). Certain aspects of these elements are
  13   illustrated in the screenshots below and/or in those provided in connection with other
  14   allegations herein.
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   1         28.    The Product provides for both media downloads and/or storage, and media
   2   streaming. After a successful login, the Product necessarily determines whether the
   3   request received from a customer is a request for storage (e.g., recording or storing
   4   content) or content (e.g., streaming of media content). Certain aspects of these elements
   5   are illustrated in the screenshots below and/or in those provided in connection with
   6   other allegations herein.
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   16         29.    The Product verifies that media content identified in the media data of the
   17   storage request message (e.g., request to record content) is available for storage in order
   18   to prevent data errors that would result from attempting to store content that is not
   19   available for storage. The Product must verify that the media content (e.g. specific
   20   recording) identified in the media data of the storage request message is available for
   21   storage in order to prevent data errors that would result from attempting to store content
   22   that is not available for storage (e.g., the product must verify a user’s ability to store
   23   media content is limited to a certain amount of memory and/or time). Certain aspects
   24   of these elements are illustrated in the screenshots below and/or in those provided in
   25   connection with other allegations herein.
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                               COMPLAINT AGAINST MOBI TECHNOLOGIES, INC.
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   17         30.   If a customer requests content (e.g., live streaming of media content), then
   18   a processor within the Product necessarily initiates delivery of the content to the
   19   customer’s device. The Product will initiate delivery of the requested media content to
   20   the consumer device (e.g., stream media content feed to a smartphone or tablet etc.) if
   21   the request message is a content request message (e.g., request for live streaming).
   22   Certain aspects of these elements are illustrated in the screen shots below and/or in
   23   screen shots provided in connection with other allegations herein.
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   14         31.    The media data includes date and time information to identify conference
   15   start and stop times, as well as meeting length. Time data may also indicate a length of
   16   time to store the requested media content (e.g., a user is allowed to store media content
   17   for a retention period defined by a variable amount of time). Certain aspects of these
   18   elements are illustrated in the screenshots below and/or in those provided in connection
   19   with other allegations herein.
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              32.     The Product must first determine whether the requested media content
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        exists prior to initiating delivery in order to prevent data errors that would result from
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                              COMPLAINT AGAINST MOBI TECHNOLOGIES, INC.
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    1   attempting to transmit media content that does not exist (e.g., the product must verify
    2   that a particular requested data is stored in the cloud). Also, a user can view the history
    3   of media content and the processor can identify the existence of that particular media
    4   content. Certain aspects of these elements are illustrated in the screenshots below
    5   and/or in those provided in connection with other allegations herein.
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   15         33.    After the processor determines whether the requested media content is

   16   available, it determines whether there are restrictions associated with the requested

   17   media content (e.g., user access restrictions, etc.). Certain aspects of these elements are

   18   illustrated in the screenshots below and/or those provided in connection with other

   19   allegations herein.

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            34.   Defendant’s actions complained of herein will continue unless Defendant
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                           COMPLAINT AGAINST MOBI TECHNOLOGIES, INC.
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    1   is enjoined by this Court.
    2            35.   Defendant’s actions complained of herein is causing irreparable harm and
    3   monetary damage to Plaintiff and will continue to do so unless and until Defendant is
    4   enjoined and restrained by this Court.
    5            36.       The `221 Patent is valid, enforceable, and was duly issued in full
    6   compliance with Title 35 of the United States Code.
    7            37.        A copy of the ‘221 Patent, titled “System and Method for Storing
    8   Broadcast Content in a Cloud-based Computing Environment,” is attached hereto as
    9   Exhibit A.
   10            38.      By engaging in the conduct described herein, Defendant has injured
   11   Plaintiff and is liable for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.
   12            39. Defendant has committed these acts of literal infringement, or infringement
   13   under the doctrine of equivalents of the `221 Patent, without license or authorization.
   14            40. As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff
   15   has suffered monetary damages and is entitled to a monetary judgment in an amount
   16   adequate to compensate for Defendant’s past infringement, together with interests and
   17   costs.
   18            41.   Plaintiff is in compliance with 35 U.S.C. § 287.
   19            42.    As such, Plaintiff is entitled to compensation for any continuing and/or
   20   future infringement of the `221 Patent up until the date that Defendant ceases its
   21   infringing activities.
   22                                 DEMAND FOR JURY TRIAL
   23            43.   Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal
   24   Rules of Civil Procedure, requests a trial by jury of any issues so triable by right.
   25                                    PRAYER FOR RELIEF
   26            WHEREFORE, Plaintiff asks the Court to:
   27            (a)   Enter judgment for Plaintiff on this Complaint on all cases of action
   28   asserted herein;
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                                 COMPLAINT AGAINST MOBI TECHNOLOGIES, INC.
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    1         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
    2   employees, attorneys, and all persons in active concert or participation with Defendant
    3   who receives notice of the order from further infringement of United States Patent No.
    4   8,856,221 (or, in the alternative, awarding Plaintiff running royalty from the time
    5   judgment going forward);
    6         (c)   Award Plaintiff damages resulting from Defendants infringement in
    7   accordance with 35 U.S.C. § 284;
    8         (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled
    9   under law or equity.
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   11   Dated: August 2, 2021                  Respectfully submitted,
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                                               /s/ Stephen M. Lobbin
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   14                                          Attorney(s) for Plaintiff Rothschild
                                               Broadcast Distribution Systems, LLC
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